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                                                       MEMORANDUM ENDORSEMENT


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DQG0U*UHIUHVSHFWLYHO\0U*UHIDQG6&,%FRQWHQGWKDWWKH\KDYHQRWEHHQVHUYHGHIIHFWLYHO\
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VHUYLFHRQWKHEDVLVRIWKHEHORZSURSRVHGVFKHGXOHZKLFKVXEMHFWWRWKH&RXUW¶VDSSURYDOZRXOG
H[WHQG0U*UHI¶VDQG6&,%¶VWLPHWRDQVZHUPRYHRURWKHUZLVHUHVSRQGWR3ODLQWLII¶V$PHQGHG
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       7KHUH KDYH EHHQ QR SUHYLRXV UHTXHVWV IRU DQ H[WHQVLRQ RIWLPH LQ WKLVPDWWHU  3ODLQWLII
FRQVHQWVWR'HIHQGDQWV¶UHTXHVWIRUDGGLWLRQDOWLPHWRDQVZHUPRYHRURWKHUZLVHUHVSRQGWRWKH
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                                                    Application denied. Without more, the generous
5HVSHFWIXOO\6XEPLWWHG                             schedule proposed by the parties is not warranted.
                                                     Therefore, the Court declines to adopt the
                                                     proposed schedule.
/s/ Kimberly A. Havlin                               SO ORDERED:

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